UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK

 

 

MARK F. COLEMAN,

Doricina, |
pean: commant’ GLEESON, J,

Plaintiff,

NEW YORK CITY, AS A MUNICIPALITY, DETECTIVE JURY TRIAL DEMAND i

  

JOSEPH JORDAN, P.O. JOHN VIRGILGREEN, Gy ] 5 1 9 ee

ROSLYN N. STEVENS, 6

Defendants.

 

Plaintiff, Mark F. Coleman, acting pro-se, sets forth as his Complaint, as follows:

I. Parties:

A. Plaintiff, Mark F. Coleman was and still is a resident of the county of
Queens, City and State of New York. Plaintiff has an address of 115-45
173rd Street, Jamaica, NY 11434, where he gets mail.

B. Defendant, Roslyn N. Stevens, was and still is a resident of the County of
Queens, City and State of New York. Defendant Stevens has an address of
168-12 119th Avenue, Jamaica, NY 11434.

C. Defendant, Detective Joseph Jordan is an employee of the City of New York,
and a resident of the State of New York. Defendant Jordan has an address
of New York City Law Department, Office of Corporation Caqunse!l, 100
Church Street, New York, NY 10007.

D. Defendant, Police Officer John Virgil Green is an employee of the City of
New York, and a resident of the State of New York. Defendant Green has an
address of New York City Law Department, Office of Corporation Counsel,
100 Church Street, New York, NY 10007.

E. Defendant, New York City is an municipality duly organized and existing
under the laws of the State of New York. Defendant New York City has an
address of New York City Law Department, Office of Corporation Counsel,
100 Church Street, New York, NY 10007.

i. Jurisdiction:

The Jurisdiction of the Court is invoked pursuant to 28 U.S.C. Sections 1331 and
42 U.S.C. 1983.

Defendant, New York City is also sued pursuant to Monell v. Dept of Soc. Servs,

436 U.S. 658, 701 (1978).

lif. Statement of Claim:

There are two (2) separate claims that are being brought in this one document.
Both claims involve the actions of the same defendants, New York City (NYPD)
and Roslyn Stevens, on different occasions. Therefore each claim wiil be
addressed and listed in order of occurrence.

FIRST CAUSE OF ACTION
CLAIM 1,

On January 13, 2013, defendant Joseph Jordan, arrested plaintiff, Mark F.
Coleman without probable cause, and acting under color of state law [in violation
of 42 USC 1983], based on his claim of being informed by defendant Roslyn N.
Stevens, that: ("Mark F. Coleman"]....defendant then punched holes in the walls
of her apartment, threw paint in the apartment..."

Joseph Jordan claimed he was informed by defendant Stevens, that:" [Mark F.
Coleman] "....did not have permission or A
uthority to Damage, Break, or Otherwise Alter the Walls of Her Apartment or
Furniture..."

See Exhibit "A," Criminal Court Complaint 2013QN003262.

Defendant Roslyn N. Stevens, gave false information in reporting the events
stated above, in that Stevens knew she was not the owner of the property.
Defendant Jordan and the Queens County District Attorney was negligent in
failing to investigate the truth of the statements given by Stevens. Yet, at some
point early in January 2013, the district attorney's office realized there was no
probable cause for the arrest, still prosecuted plaintiff knowing nothing supported
such prosecution. The evidence of the lack of probable cause having become
known is proved by the fact, the district attorney never filed a statement of
readiness with the court, thus, the subsequent dismissal of the charges.

Defendant New York City by the Office of the Queens County District Attorney,
prosecuted plaintiff Mark F. Coleman for exactly one (1) year and one (1) day, and
lacking probable cause or evidence to support the alleged charges, the Court
dismissed and sealed all charges on January 14, 2014.

See Exhibit "8," Certificate of Disposition-Number 250730.
SECOND CAUSE OF ACTION

CLAIM II.

On or about February 2013, defendant John Virgilgreen, arrested plaintiff, Mark
F. Coleman without probable cause, and acting under color of state law [in
violation of 42 USC 1983], based on his claim: ”...HE IS INFORMED BY THE
COMPLAINANT, ROSALINE STEVENS THAT AT APPROXIMATELY 2000 HOURS ON
FEBRUARY 2, 2013 AT THE ABOVE MENTIONED PLACE OF OCCURRENCE, THE
DEFENDANT MARK COLEMAN BANGED ON THE COMPLAINANTS FRONT DOOR
STATING TO THE COMPLAINANT IN SUM AND SUBSTANCE, LET ME IN."

See Exhibit "C," Criminal Court Complaint 2013QN007378.
Here again, defendant Roslyn N. Stevens falsely reported a new incident to the
police (113th precinct) and the District Attorney attempted to use this incident to
rehabilitate its original case. Once again, knowing there was no probable cause to
arrest or continue the prosecution, plaintiff was made to repeatedly appear in
court (for one (1) year) only to subsequently have the charges dismissed. The
prosecution in this second case also never filed a certificate of readiness with the
court. Thus, the one year of prosecution of plaintiff was clearly malicious.

Thereafter on January 14, 2014, defendant City of New York by its Queens County
District Attorney's Office moved to dismiss the criminal charges as to both of the
above mentioned criminal complaints.

The record of January 14, 2007, shows:

THE COURT: October 1st, you stated not ready. You agreed to file a certificate
of readiness. There is not one in the file that 1 can see since October
1st. People?

MR. FOGARTY: Judge, the people concede.

THE COURT: So that's 262 and 378 that they were consolidated together. It will
be dismissed and sealed 30.30

See Exhibit "D," Transcript of January 14, 2014. pages 1- 4.

Plaintiff Mark F. Coleman, complaints of the defendants together that they:
(1) Commencemed a criminal proceeding against him, in which officer Jordan nor
officer Virgilgreen submitted sworn complaints against plaintiff.

(2) The criminal proceedings terminated in favor of Mark F. Coleman, as proved
by the transcript of January 14, 2014, (ref to Ex "D.").

(3) The criminal proceedings lacked probable cause. Defendant Stevens at the
time of the criminal cases, was not the property owner as alleged in either
criminal complaint. While plaintiff Mark F. Coleman, was the lawful owner of the
 

property, by operation of NY State Law, listed in both criminal complaints. Thus,
there was no probable cause for arrest, nor issuance of the order of protection in
either case. The prosecution never filed a certificate of readiness as agreed with

the court simply because they lacked probable cause for the arrest and
prosecution of plaintiff.

(4) The criminal proceedings were brought out of actual malice. Plaintiff, Mark F.
Coleman has a long history of arrest by the 113th precinct [ the 911 tape reflects
this malice] and defendant Stevens exhibited malice against plaintiff over
ownership of property Stevens fraudulently obtained from her own family
members and was exposed by plaintiff Mark F. Coleman. The Queens County DA's
office was aware of the civil proceedings involving the property at issue but yet
choose to pursue the criminal! prosecution of Mark F. Coleman, purely out of
actual malice. The Queens County DA's office prosecuted plaintiff out of pure
malice, which is evident in the fact all charges were non-felony offense's and
should have otherwise been dismissed after ninety one (91) days, yet in plaintiff's
case, it took one (1) year, or four times the length of time had it been any other
citizen of New York City. Finally, the DA's office knew plaintiff was in pain and
suffering as the result of spinal damage from recent radiation treatment for
cancer, yet dragged both cases out eight months pass the CPL 30.30 time knowing
they would not go to trial on either one. These action can only be said to be
malice with intention to harm and deprive in an illegal or immoral way.

The actions complained of herein were duly presented to defendant City of New
York in the provided “Personal injury Claim Form,” date stamped 2014 APR 11 PM
1:52. No action has been taken by defendant NYC.

See Exhibit "E," Personal Injury Claim Form. pages 1-5.

Thereafter the defendant City of New York Office of the Comptroller
acknowledged receipt of plaintiff's claim and said claim was assigned Claim No.
2014P1011677. The claim form clearly states "any lawsuit against the City must
be started within one year and ninety days from the date of occurrence."

See Exhibit "F," Acknowledgment of Claim, dated 04/15/2014.

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The actions complained of herein are violations of plaintiffs Ath, 5th and 14th
Constitutional rights to due process of law. These claims present questions of
Federal law and violations of 42 USC 1983 against plaintiff. The actions of the
defendant(s) caused plaintiff to spend at least three(3) days or seventy two (72)
hours in the city jail "bullpens,” and one (1) year of restricted movement of
release on "ROR." In other words, plaintiff suffered post-arraignment restraint of
his liberty and had to render himself at all times amenable to the orders and
processes of the court. These restrictions implicated plaintiffs fourth amendment
rights, as such they amount to seizures for fourth amendment purposes.

The plaintiff suffers from lower back and leg damage in the form of degenerative
disc disease, pinched nerve, hypertrophy of facet joints which cause spinal
stenosis. Plaintiff claims he suffered actual pain and physical harm, over the
course of one (1) year of malicious prosecution and having been falsely arrested.

Plaintiff, further asserts he lost rental income from the lost usage of his property
based on the baseless issued order of protection.

Therefore, plaintiff states claim |. is a claim of (a) malicious prosecution and (b)
false arrest, and (C) seizure under the fourth amendment. Claim Il. is a claim of (a)
malicious prosecution and (b) false arrest, and (C) seizure under the fourth
amendment. Defendant New York City is being sued because it failed to properly
train and supervise its employee's, that is: the Queens County District Attorney's
Office, Detective Joseph Jordan and Police Officer John Virgilgreen.

Thus, plaintiff seeks $ 1, 000,000 in damages, and all other relief the court deems
just and proper.

Dated: April he SOI Lo 7 ,
Mark F. Coleman, pro-se
115 - 45 173rd Street

Jamaica, New York 11434
Case 1:15-cv-01946-JG-MDG Document1 Filed 04/08/15 Page 7 of 27 PagelD #: 7

EXHIBIT ‘A’
QUEENS CRIMINAL COURT

CRIMINAL COMPLAINT
2013QN003262
Pax: Jan Tf 2013 09:33pm Ppd2/003

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CRIMINAL COURT OF THE CITY OF MEW YORK
PART APAR, COUNTY OF QUEENS

 

STATE OF NEW YORK
COUNTY OF QUEENS

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DETECTIVE JOSEPH JORDAN OF ONS DET AREA 113, TAX REGH#: 897751, BEING
DULY SWORN, DEPOSES AND SAYS THAT ON OR ABOUT JANUARY 13 2013 BETWEEN
1:45PM AND 1:50PM, INSIDE OF 168-12 119 AVENUE 1 FLOOR, COUNTY OF
QUEENS, STATE OF NEW YORK, THE DEFENDANT COMMITTED THE OFFENSES OF:

THE PEOPLE OF THE STATE OF NEW YORK
Vv.

MARK COLEMAN (51Y)
DEFENDANT

|
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|

 

 

PL 120.00-1 ASSAULT IN THE THIRD DEGREE - (DNA SAMPLE REQUIRED UPON
CONVICTION)

PL 145.00-1 CRIMINAL MISCHIEF FOURTH DEGREE ~- (GNA SAMPLi: REQUIRED
UPON CONVICTION)

PL 240.26-1 HARASSMENT IN THE SECOND DEGREE

 

PL 120.00-1 ASSAULT IN THE THIRD DEGREE - (DNA SAMPLE REQUIRED UPON
CONVICTION)
--- WITH INTENT TO CAUSE PHYSICAL INJURY TO ANOTHER PERSON, CAUSE
SUCH INJURY TO SUCH PERSON OR A THIRD PERSON;

PL 145.00-1 CRIMINAL MISCHIEF FOURTH DEGREE ~ (DNA SAMPLE REQUIRED UPON
CONVICTION)
--- HAVING NO RIGHT TO DO SO NOR ANY REASONABLE GROUND TO BELIEVE
THAT HE HAD SUCH RIGHT, INTENTIONALLY DAMAGE PROPERTY OF ANOTHER
PERSON}

PL 240,26-1 HARASSMENT IN THE SECOND DEGREE
--- WITH THE INTENT TO HARASS, ANNOY,OR ALARM -ANOTHER PERSON, THE
DEFENDANT (S) DID STRIKE,SHOVE,KICK,OR SUBJECTED ANOTHER PERSON TO
PHYSICAL CONTACT,OR ATTEMPTED OR THREATENED TO DO THE SAME. .

   
 

THE ABOVE OFFENSES WERE COMMITTED AS FOLLOWS:

 
    

DEPONENT STATES THAT HE IS INFORMED BY THE COMPLAT yy
THAT AT THE ABOVE MENTIONED DATE, TIMER AND PLACE OF O
VERBAL ALTERCATION WITH THE DEFENDANT, MARK COLEMAN.

ROSLYN STEVENS,

DEPONENT FURTHER STATES THAT HE IS INFORMED BY THE COMPLAINANT THAT
THE DEFENDANT THEN PUNCHED HOLES IN THE WALLS OF HER APARTMENT, THREW

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COLEMAN, MARK 013603478
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DEPONENT FURTHER STATES THAT HE IS INFORMED BY THE | COMPLAINANT THAT
THE DEFENDANT PUNCHED HER IN THE FACE, . RESULTING IN BRUISING.

DEPONENT FURTHER STATES THAT HE IS INFORMED BY THE COMPLAINANT THAT
SHE WAS REMOVED TO A LOCAL HOSPITAL AND TREATED FOR THE INJURY TO HER
EYE INJURY. :

DEPONENT IS FURTHER INFORMED BY THE COMPLAINANT THAT THE ABOVE MENTIONED
ACTIONS OF THE DEFENDANT CAUSED HER SUBSTANTIAL PAIN, ANNOYANCE AND
ALARM.

DEPONENT IS FURTHER INFORMED BY THE COMPLAINANT THAT THE DEFENDANT DID
NOT HAVE PERMISSION OR AUTHORITY TO DAMAGE, BREAK, OR OTHERWISE ALTER
THE WALLS OF HER APARTMENT OR FURNITURE THEREIN.

FALSE STATEMENTS MADE IN THIS DOCUMENT ARE
PUNISHABLE AS A CLASS A MISDEMEANOR PURSUANT
TO SECTION 210.45 OF THE PENAL LAW

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EXHIBIT ‘B'
CERTIFICATE OF DISPOSITION
NUMBER 250730
CRIMINAL COURT OF THE CITY OF NEW YORK

COUNTY OF QUEENS CERPIFICATE OF (DISPOSITION
NUMBER: 250730

THE PEOPLE OF THE STATE OF NEW YORK

 

 

 

 

 

 

vs
COLEMAN , MARK 05/26/1961
Defendant Date of Birth
168-12 119 AVENUE 4213510N
Address NYSID Number
QUEENS NY 01/17/2013
City State Zip Date of Arrest/Issue
Docket Number: 20130N003262 Summons No:

120.00 145.00 240.26
Arraignment Charges

Case Disposition Information:

 

 

Date Court Action Judge Part
11/12/2013 CONSOLIDATED WITH ANOTHER CASE MORRIS,G API
2013QN007378

01/14/2014 DISMISSED AND SEALED MORRIS,G

 

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NO FEE CERTIFICATION “#t 130.39 of the Oey
_ GOVERNMENT AGENCY _ COUNSEL ASSIGNED

NO RECORD OF ATTORNEY READILY AVAILABLE. DEFENDANT STATES COUNSEL WAS ASSIGNED

 
 

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CERTIFY THAT THIS IS A TRUE EXCERPT OF THE RECORD ON FILE IN

 

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EXHIBIT 'C'
QUEENS CRIMINAL COURT
CRIMINAL COMPLAINT
2013QN007378
 
    

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CRIMINAL COURT OF THE CITY OF NEW YORK
PART APAR, COUNTY OF QUEENS

 

THE PEOPLE OF THE STATE OF NEW YORK STATE OF NEW YORK

COUNTY OF QUEENS

20130N007378
HL

POLICE OFFICER JOHN VIRGILGREEN OF 113TH PRECINCT, TAX REG#: 942674,
BEING DULY SWORN, DEPOSES AND SAYS THAT BETWEEN FEBRUARY 2 2017 §:00PM
AND FEBRUARY 7 2013 10:G0PM, IN FRONT OF 168-12 119 AVE, COUNTY OF
QUEENS, STATE OF NEW YORK, THE DEFENDANT COMMITTED THE OFFENSES OF:

Vv. oo.
|
MARK COLEMAN (55¥) |

DEFENDANT

 

 

PL 215.50-3 CRIMINAL CONTEMPT IN THE SECOND DEGREE - (DNA SAMPLE
REQUIRED UPON CONVICTION) (2 couNnTS)
PL 240,26-1 HARASSMENT IN THE SECOND DEGREE (2 COUNTS)

 

PL 215.50-3 CRIMINAL CONTEMPT IN THE SECOND DEGREE - {DNA SAMPLE
REQUIRED UPON CONVICTION) (2 COUNTS}
--- INTENTIONALLY DISOBEY OR RESIST A LAWFUL PROCESS OR OTHER
MANDATE OF A COURT AND SUCH CASE DID NOT INVOLVE OR GROW OUT OF A
LABOR DISPUTE AS DEFINED BY SUBDIVISION TWO OF SECTION SEVEN
HUNDRED FIFTY~THREE OF THE JUDICIARY LAW;

PL 240.26-1 HARASSMENT IN THE SECOND DEGREE (2 COUNTS}
--- WITH THE INTENT TO HARASS, ANNOY,OR ALARM ANOTHER PERSON, THE
DEFENDANT (5) DID STRIKE,SHOVE,KICK,OR SUBJECTED ANOTHER PERSON TO
PHYSICAL CONTACT,OR ATTEMPTED OR THREATENED TO DO THE SAME..

THE ABOVE OFFENSES WERE COMMITTED AS FOLLOWS:

DEPONENT STATES THAT HE HAS REVIEWED AN ORDER OF PROTECTION ISSUED ON
BEHALF OF THE COMPLAINANT, ROSELYN STEVENS BY THE HONORABLE JUDGE JOHN
ZOLL OF THE QUEENS CRIMINAL COURT, UNDER DOCKET NOMBER 20130N003262, ON
JANUARY 18, 2013 WHICH IS IN EFFECT ONTIL JULY 17, 2013 AND WHICH
STATES, AMONG OTHER THINGS, THAT THE DEFENDANT, MARK COLEMAN IS TO
STAY AWAY FROM THE HOME, SCHOOL, BUSINESS, PLACE OF EMPLOYMENT OF THE
COMPLAINANT, REFRAIN FROM COMMUNICATION OR ANY CONTACT BY MALL,
TELEPHONE, E-MAIL, VOICE-MATZ OR OTHER MEANS WITH THRE COMPLAINANT AND
MUST REFRAIN FROM ASSAULT, MENACING, THREATENING, INTIMIDATING,
STALKING, HARASSMENT, DISORDERLY CONDUCT, RECKLESS ENDANGERMENT AND
ANY OTHER CRIMINAL OFFENSE AGAINST THE COMPLAINANT.

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COLMAN, MARK 0136077392

DEPONENT STATES THAT HE HAS EXAMINED A COPY OF SAID ORDER OF
PROTECTION AND THAT THE DEFENDANT IS AWARE OF SAID ORDER OF PROTECTION
IN THAT THERE IS AN “X" MARKED NEXT TO THE LINE, "DEFENDANT ADVISED IN
COURT OF ISSUANCE AND CONTENTS OF ORDER" AND THAT THE DEFENDANT'S
SIGNATURE APPEARS AFTER THE LINE "ORDER PERSONALLY SERVED ON DEFENDANT
IN COURT. "

DEPONENT STATES THAT HE IS INFORMED BY THE COMPLAINANT, ROSALINE STEVENS
THAT AT APPROXIMATELY 2000 HOURS ON FEBRUARY 2, 2013 AT THE ABOVE
MENTIONED PLACE OF OCCURRENCE, THE DEFENDANT, MARK COLEMAN BANGED ON THE
COMPLAINANT'S FRONT DOOR STATING TO THE COMPLAINANT IN SUM AND
SUBSTANCE, LET ME IN.

DEPONENT FURTHER STATES THAT HE IS INFORMED BY THE COMPLAINANT, ROSALINE
STEVENS THAT AT APPROXIMATELY 2100 HOURS ON FEBRUARY 7, 2013 AT THE
ABOVE MENTIONED PLACE OF OCCURRENCE, THE DEFENDANT, MARK COLEMAN STOOD
OUTSIDE THE COMPLAINANT'S HOME APPROXIMATELY TEN FEET FROM HER FRONT
DOOR.

DEPONENT IS FURTHER INFORMED BY THE COMPLAINANT THAT THE ABOVE
MENTIONED ACTIONS OF THE DEPENDANT CAUSED HER ANNOYANCE AND ALARN.

FALSE STATEMENTS MADE IN THIS DOCUMENT ARE
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| TO SECTION 2 45 OF THE PENAL LAW

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Case 1:15-cv-01946-JG-MDG Document1 Filed 04/08/15 Page 15 of 27 PagelD #: 15

EXHIBIT 'D'
CRIMINAL COURT TRANSCRIPT
OF JANUARY 14, 2014
DISMISSED AND SEALED
CPL 30.30
Case 1:15-cv-01946-JG-MDG Document1 Filed 04/08/15 Page 16 of 27 PagelD #: 16

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CRIMINAL COURT OF THE CITY OF NEW YORK
COUNTY OF QUEENS : PART: AP1 ,

THE PEOPLE OF THE STATE OF NEW YORK,
Docket Nos.
~against- 2013QN007378

2013QN003262
2012QN027715

MARK COLEMAN,

Defendant.

125+01 Queens Boulevard
Kew Gardens, New York
January 14, 2014

BEFORE:

THE HONORABLE GIA MORRIS, Judge.
APPEARANCE S&S:

FOR THE PEOPLE:

OFFICE OF RICHARD A. BROWN, ESQ.
District Attorney, Queens County
BY: KEVIN FOGARTY, ESQ.
Assistant District Attorney

FOR THE DEFENDANT:

ZACHARY REIBSTEIN, ESQ.
(Assigned Counsel Plan)
125-16 Queens Boulevard
Kew Gardens, New York 11415

ANNE BROWN, RPR
Official Court Reporter
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PROCEEDINGS 2

BRIDGE OFFICER: Calendar number 2, 82 and 84
Mark Coleman.

MR. REIBSTEIN: For the defendant, Assigned
Counsel Plan by Zachary Reibstein.

THE COURT: So one of these dockets are
combined, 378 and 262.

MR. REIBSTEIN: Correct, Judge. Those are on
for trial. I believe the case is 30.30 today. They
have not be ready since October 1st. They have never
filed any sort of certificates of readiness. I
conferenced it with the People and I believe they said
that as long as the court file agrees with it, they will
be conceding. I checked the court file. I believe it
confirms.

THE COURT: October Ist, you stated not ready.
You agreed to file a certificate of readiness. There is

not one in the file that I can see since October: 1st.

People?

MR. FOGARTY: Judge, the People concede.

THE COURT: Sm that's 262 and 378 that they
were consolidated together. It will be dismissed and

sealed 30.30.
MR. REIBSTEIN: Just for the record, just for
my understanding and so my client understands, those two

cases are dismissed and sealed and the order of
Case 1:15-cv-01946-JG-MDG Document1 Filed 04/08/15 Page 18 of 27 PagelD #: 18

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PROCEEDINGS 3

protection is vacated?

THE COURT: That's correct.

MR. REIBSTEIN: Just making sure.

THE COURT: I will put it on just in case they
weren't officially done in the computer.

MR. REIBSTEIN: I appreciate that.

THE COURT: So that leaves docket 715, which
looks like it was ten days of community service. He was
supposed to bring me proof today.

MR. REIBSTEIN: It was private, Your Honor.
He's being doing it at Big Sisters Organization on
Merrick Boulevard. He doesn't have that letter today.
He neglected to get that, unfortunately. We have
contact information if you want to do that.

THE COURT: No, I'm not contacting them. He
needs to get a letter. I don't have time to call the
community service. That was his responsibility. It's
not just to do community service; he needs to bring a
letter to show proof of it.

MR. REIBSTEIN: Can we have an adjournment for
him to do so?

THE COURT: Yes. When do you want to come back
to show proof, Mr. Reibstein?

MR. REIBSTEIN: A few weeks, Judge. It has to

be a Friday.
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PROCEEDINGS . 4

THE COURT: How's February 21? That is a
Friday.

MR. REIBSTEIN: All right. Thank you.

THE COURT: February 21st. I'm marking it
final. You need to finish all the of the ten days. You
were given an opportunity to do it privately, that
everybody doesn't get to do. But if you haven't done it’
by February 21st, you could get 15 days in jail; do you
understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: It's not just doing it, you need to
bring proof because the Court needs proof. Otherwise,
it's as if you didn't do it.

MR. REIBSTEIN: My client will show he's met
all his responsibilities on February Zist.

THE COURT: Great. Good luck to you.

MR. REIBSTEIN: On the that case that's
dismissed today, I will ask that bail be exonerated.

THE COURT: I will exonerate on both. I don't
know which one had bail on it.

* * *

CERTIFIED THAT THE FOREGOING IS A TRUE AND ACCURATE

TRANSCRIPT OF THE ORIGINAL STENOGRAPHIC MINUTES IN THIS
CASE.

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Legian ZQiey—-
ANNE BROWN, RPR
Official Court Reporter

 
, Case 1:15-cv-01946-JG-MDG Document1 Filed 04/08/15 Page 20 of 27 PagelD #: 20

EXHIBIT ‘E’

NYC PERSONAL INJURY CLAIM
FORM

PAGES 1-5
_* New York City Comptrotier
-- Scott M. Stringer

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re

Office of the New York City Comptroller
1 Centre Street

New York, NY 10007

Form Version: NYC-COMPT-BLA-PI1-M

Personal Injury Claim Form

Claim must be filed in person or by registered or certified mail within 90 days of the occurrence at the NYC
Comptroller's Office, 1 Centre Street, Room 1225, New York, New York 10007. It must be notarized. If clairn is
not resalved within 7 year and 90 days of the occurrence, you must start fegal action to preserve your rights.
TYPE OR PRINT

bam filing: don behalf of myself.
c On behalf of someone else. If on someone else's
behalf, please provide the following information.

LOL LMABS
ODAEM

SELE

 

Last Name:

 

First Name:

 

Relationship to

 

the claimant:

 

 

Claimant Information

LpeéiMan

Te
Ad

*Last Name:

*First Name:

Address:
Address 2: -

FIEL Vide

City:
State:

Zip Code:
Country:

Date of Birth: Format: MM/DD/YYYY
Soc. Sec. #

HICN:
(Medicare #)

Date of Death:
Phone:
Email Address:

Occupation:
City Employee? (Yes G*No (CNA
Gender Male Female ( Other

-* Denotes required field(s).

Format: MM/DD/YYYY

 

C Attorney is filing.
Attorney Information (If claimant is represented by attornay)
Firm or Last Name:
Firm or First Narne:
Address:

Address 2:

City:

State:

Zip Code:

Tax ID:

Phone #:

Email Address:

 

 

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Page 1 of §
TS: New York City Comptroller
“2 Scott M. Stringer

The time and place where the claim arose

*Date of Incident:

Time of Incident:

*Location of
Incident:

 

 

 

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AgaidrAds State:
Z013 Q.is BS 13 7¢ Borough:

Office of the New York City Comptroller

1 Centre Street
New York, NY 10007

 

 

 

 

 

 

 

 

 

2413 Qilsa 32462

 

*Manner in which
claim arose:

Attach extra sheet(s)
if more room is
needed.

 

To owes Subtected te 1. Fake AREKT nl 2. malicious

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SEE Atal Leu wl Cauela ake

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4 72414 OM OD SLGZ- feo ¥ UALl- fal EMA

 

 

The items of
damage or injuries
claimed are {include
dollar amounts):

Attach extra sheet(s)
if more room is
needed.

 

+ Clenu ) UEdtal Cul Quel SutEiS- EAS,D0D
2. PUVSical. Pah) actd SuUiPeeuu S0D,D2D

ZB lod d Cestal coe

* Denotes required field(s).

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Page 2 0f 5

 

 
Office of the New York City Comptroller
. 1 Centre Street
' New York City Comptroller New York, NY 10007
5 Scott M. Stringer

Medical Information

lst Treatment Date: b 3 TAL Sih /3 |Format: MM/DD/YYYY

 

 

 

 

 

 

 

 

hospitatname: | NDAD Medical ASDLUES

Address: gy- [4 lb Sage

Address 2:

cy Tauidiid ELE

state: hit You.

Zip Code: / 1437.

Date Treated in Feat MM/DD/VYYY
Emergency Room:

 

 

C Yes Pro CNA

Was claimant taken to hospital by an ambulance?

Employment laformation (If claiming lost wages}

Employer's Name:
Address

Address 2.

City:

State:

Zip Code:

Work Days Lost:

Amount Earned
Weekly:

 

Treating Physician Information

Last Name:
First Name:
Address:
Address 2:
City:

State:

Zip Code:

 

* Denotes required field(s). Page 3 of 5
oe ). New York City Comptroller
~~ Scott M. Stringer

Witness 1 Information

Last Name:
First Name:
Address
Address 2:
City:

State:

Zip Code: / 9.

Witness 2 Information

Last Name: |
First Name:
Address HS-SC / Ad
Address 2: ,
City:
State:

Zip Code: T/9

Witness 3 Information

 

 

 

Last Name: Aik ps

 

FirstName: FTRESSA SIA

 

Address VC - Ys LL? DAT

Address 2:

 

City: Tt lcd

State: WHE. i Yoel.

 

 

Zip Code: | 4/434

* Denotes required field(s).

 

Office of the New York City Comptroller
1 Centre Street
New York, N¥ 10007

Witness 4 Information

Last Name:
First Name:
Address
Address 2:
City:

State:

Zip Code:

 

Witness 5 Information

 

Last Name:

 

First Name:
Address
Address 2:
City: '

 

 

 

 

State:
Zip Code:

 

 

 

Witness 6 Information

 

Last Name:

 

First Name:

 

Address
Address 2:

 

 

City:

 

State:

 

 

 

Zip Code:

 

Page 4of5
Office of the New York City Comptroller

: 1 Centre Street
:. New York City Comptroller New York, NY 70007

"*  S Seott M. Stringer L

 

 

 

 

 

 

™, Complete if claim involves a NYC vehicle
Owner of vehicte animens Dent in Non-City vehicle driver
Last Name: NN ~ Last Name: L
First Name: NN First Name: 4
Address NN Address /

 

 

Address 2: NN Address 2: LJ
City: NN City:

State: :
Zip Code:

 

 

 

 

 

 

 

  
  

 

Insurance Information information

 

 

  

 

 

 

 

 

 

insurance Company Make, Model,

Name: /| of Vehicte:

Address / Plate #: N,
Address 2: YL VIN #: NN,

 

 

 

City: LZ City vehicle information XN
state: Se Plate #: i N |

 

 

 

 

 

 

 

 

zip Code:
Policy #: Lf NX
Phone #; a City Driver Last

Name:

Description of
claimant:

  

Driver

 

C Pedestrian

C Passenger

C Bicyclist

 

City Driver First
Name:

 

 

\

 

 

C Motorcyclist (C Other \

 

 

*Total Amount Format: Do not include "S" or “"

Claimed:

 

[AlZ Abb

 

Date Signature of Claimant

State of New York
County of

, MAL. EF Cal evs , being duly sworn depose and say that | have read the foregoing

NOTICE OF CLAIM and know the contents thereof: that same is true to the best of my own knowledge, except as to the matter here stated
to be alleged upon information and belief, and as to those matters. i believe them to be true.
| la vg lG

APo |
Sworn before me this day. Po)

Keuokpere

Page 5 af5

signature of
Claimant Plate 2 CpKe p-—

Rami Manoj 8.
Notary Public State of New York
01RAS147425
Commission Expires ow/os/a0_! 4

Signature of notary

* Denotes required field(s).
Case 1:15-cv-01946-JG-MDG Document1 Filed 04/08/15 Page 26 of 27 PagelD #: 26

EXHIBIT 'F'
NYC ACKNOWLEDGEMENT
OF CLAIM DATED 4/15/14
THE CITY OF NEW YORK WWW.COMPTRGOLLER.NYC.GOV
OFFICE OF THE COMPTROLLER
CLAIMS AND ADJUDICATIONS
1 CENTRE STREET ROOM 1200
NEW YORK, N.Y. 10007-2344

 

Michael Aaronson

Chief, Bureau of Law and Scott M. Stringer
Adjustment COMPTROLLER
O15 - 151
Date: 04/15/2014
Claim No: 2014PI011677
RE: Acknowledgment of Claim
MARK COLEMAN

168-12 119 AVENUE
JAMAICA, NY 11434

Dear Claimant:
We acknowledge receipt of your claim, which has been assigned the claim number shown

above. Please refer to this claim number in any correspondence or inquiry you may have with our
office,

We will do our best to investigate and, if possible, settle your claim. However, if we are
unable to resolve your claim, any lawsuit against the City must be started within one year and
ninety days from the date of the occurrence.

Tf you have any questions regarding your claim, you may contact us at either 212-669.°" °

for property damage claims or 212-669-4445 for claims involving personal injury.

Sincerely,
Michael Aaronson
